     Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 1 of 9




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
       v.                                    §      Case No. 4:22-cr-612
                                             §
CONSTANTINESCU, et al.                       §      The Honorable Andrew S. Hanen
                                             §
       Defendants.                           §


 United States’ Response in Opposition to Defendant Constantinescu’s Motion to Compel

       The United States, by and through its undersigned counsel, responds to Defendant’s Third

Motion to Compel (ECF No. 322). The Court should deny the Motion for the below-stated reasons.

       I.      The Court should deny the Motion because the information Defendant seeks
               is not Brady material.

       The topics and materials referenced in the Motion cannot be “exculpatory” or

“exonorate[]” Defendant (Mot. at 1, 2), because they have nothing to do with the Defendant’s

conduct alleged in this case. Putting aside Defendant’s now-routine hyperbole and purported

license to stretch facts to that end, he does not identify material exculpatory or impeachment

information that implicates Brady or Giglio.

       First, the circumstances surrounding Special Agent B’s apparent receipt of a money from

Defendant are unrelated to whether Defendant committed securities fraud, as alleged in the

Superseding Indictment, and do not bear on the credibility of any testifying witness in this case.

Second, communications between a prosecutor and an attorney representing Defendant’s wife

similarly have nothing to do with Defendant’s guilt or innocence of the charged crimes. The

divorce attorney of Defendant’s wife reached out to a prosecutor for information about this case.

In response, the United States sought only to ensure that Defendant did not use his conditions of
     Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 2 of 9




pre-trial release in this case to shirk any financial obligations in divorce proceedings, and to ease

any administrative burden on this Court.

       In his third purported Brady motion, Defendant is now flailing without deference to either

the facts or the law. With neither on his side, he resorts to pounding the table. The Court should

put an end to it.

       1. Special Agent B had no role in the investigation and was prevented from being aware of it until
          after charges were brought.

       Defendant’s specious claims of bias in this investigation are belied by basic facts. Special

Agent B had no role in either the investigation or charging of this case.

       As background, Special Agent B does not physically work in the FBI’s Houston Field

Office, but is assigned to an office in Bryan–College Station. In that capacity, Special Agent B

works primarily on national security issues. As explained below, Special Agent B had zero role in

the investigation of this case.

       As reflected in the FBI’s case-opening document, this case originated with the Fraud

Section in Washington, DC, and “was referred to FBI Houston by DOJ Fraud Section . . . .” (See

Ex. 1 at 3.) Thus, the case origination itself could not be further removed from Special Agent B.

Defendant had this information but chose instead to make specious insinuations in his Motion

without any basis in fact.

       When the lead case agent opened the case on May 18, 2022, the case agent had neither met,

and to this date has not even spoken to, Special Agent B nor had any knowledge of Special Agent

B’s relationship to Defendant. On June 13, 2022, the case agent requested that this investigation’s

case file be placed on “prohibited status,” as reflected in the serial dated June 13, 2022, attached

as Exhibit 2. Designating the case as “prohibited status” meant that Special Agent B did not have

any ability to see if this case even existed, let alone the substance of the file.


                                                   2
     Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 3 of 9




       To be clear, the case agent had no reason to suspect Special Agent B of any wrongdoing

and had no understanding of Special Agent B’s relationship with his sister or Defendant, whether

positive or otherwise. By placing this case in prohibited status, the case agent sought to protect

against even the possibility of Special Agent B inadvertently learning of this investigation. In this

way, the lead case agent took this reasonable step to ensure the covert nature of the investigation

by walling off anyone with potential ties to Defendant. After this case was charged by indictment

on December 7, 2012 (see ECF No. 1), Special Agent B was informed about this case by his

supervisor on or about the morning of the Defendants’ arrests. Special Agent B was so informed

on or about December 13, 2022 as a professional courtesy given his relationship to Defendant’s

wife. Prior to the Defendants’ arrests, the case team has no reason to believe that Special Agent B

knew of the investigation at all and, as noted above, took affirmative steps to preclude such

knowledge.

       Given Special Agent B’s complete lack of involvement in the investigation of this case,

there is no factual foundation to argue that the Houston Field Office has “bias” towards Defendant.

(See Mot. at 2.) It therefore follows that there is no similar basis to “attack the credibility of the

investigation that led to these charges against [Defendants].” (Id.) Putting aside the lack of factual

foundation, Defendant’s attempts to string together impeachment material for an office writ large

fails as a matter of law. See, e.g., United States v. Freeman, 164 F.3d 243, 248 (5th Cir. 1999)

(explaining that Brady and Giglio apply to “any evidence that would tend to show a prosecution

witness’s bias, [or] could be used to impeach him” (emphasis added)). By ignoring both the facts

and the law, Defendant has now lodged his third meritless fishing expedition for purported Brady

information, which the Court should not entertain. See United States v. Edwards, 442 F.3d 258,

268 n.10 (5th Cir. 2006) (“Due to the speculative and conclusory nature of the [defendants’]



                                                  3
     Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 4 of 9




allegations with respect to both the suppression and materiality Brady prongs, such a hearing

would serve as nothing more than a fishing expedition.”).

       As to the facts surrounding the transfer of funds to Special Agent B, an agent on this case

interviewed Special Agent B after Defendant texted Special Agent B the February 21, 2023

message referenced in the Motion. (See Mot. at 5.) The United States produced both the cited text

message and the report of interview to Defendant as part of its discovery obligations in this case.

Defendant is therefore seeking to pervert the United States’ compliance with its discovery

obligations to manufacture discovery “violations” out of whole cloth.

       The nature and circumstances of that transfer have no relevance to this case, given Special

Agent B’s lack of involvement in the case. Even assuming that this money is from “trading profits”

as Defendant Constantin suspiciously claimed more than three months after his indictment and

approximately two weeks after the return of the Superseding Indictment (ECF No. 134, Feb. 8,

2023), there is no reason to believe this information is Brady material. The transfer has nothing to

do with the underlying facts of the case and whether Defendant committed the charged offenses.

       As to the merits of the transaction, Defendant ties himself in knots trying to besmirch the

integrity of the case team but does not flesh out the only possible logical conclusions of his

argument, none of which resolve in his favor. If the transfer did not involve tainted funds, then

there is zero relevance to the transfer at all, and it does not undermine the United States’ efforts to

seize Defendant Constantinescu’s other assets in this case. If Defendant will concede that the

transfer involved tainted funds, the only conceivable relevance would be impeachment material as

to Special Agent B. Of note, this argument would also require accepting other foundational

predicates, namely that Special Agent B had knowledge of the tainted source of the funds or

otherwise acted in a manner that would undermine his credibility. On both points, the United States



                                                  4
      Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 5 of 9




does not accept these premises. Nonetheless, even assuming such is the case for present argument,

that hypothetical relevance falls flat given that Special Agent B is not a witness in this case and

will not be called as such by the United States. See, e.g., Freeman, 164 F.3d at 248 (“The district

court determined that so long as neither [person] testified, the issue of their potential bias or

misconduct was not relevant.”); United States v. Mesa, 660 F.2d 1070, 1076–77 (5th Cir. 1981)

(holding failure to disclose government witness was under investigation did not require reversal

because impeachment value of such evidence insufficient to result in acquittal).

        2. The points concerning Defendant’s wife are irrelevant to this case.

        Defendant’s wife’s attorney in their divorce proceeding reached out, on his own, to a

prosecutor to obtain information about this case and its potential impact on the divorce

proceedings, as demonstrated in the example email attached as Exhibit 3. The prosecutor and

divorce attorney spoke by phone several times and exchanged several emails, such as Exhibit 3.

As demonstrated in Exhibit 3, the main thrust of the attorney’s inquiries turned on his efforts to

understand the veracity of Defendant’s purported representations to the divorce court that

Defendant’s pre-trial conditions in this case prevented him from paying court-ordered spousal

support. 1 (See Ex. 3 at 2.) None of the prosecutors ever spoke with Defendant’s wife, and only a

single prosecutor spoke with her attorney over the phone. There were no “meetings” or “secret

conversations.” (See Mot. at 2.) The United States filed the referenced motion regarding

Defendant’s pre-trial release conditions to ensure that Defendant could not use this case to avoid

his financial obligations in that proceeding, and to avoid the administrative burden of this Court


        1 Defendant’s apparent claims of being unable to pay spousal support due to his pre-trial conditions

in this case are curious given that bank records clearly show he violates those conditions when he pleases.
As his bank statements show, Defendant transferred approximately $28,000 on or about January 23, 2023
to an individual the United States understands to be Defendant’s current girlfriend, in clear violation of his
pre-trial conditions. (See DOJ-PROD-0000354575.) It appears Defendant uses his pre-trial conditions as a
shield when convenient but disregards them when inconvenient.

                                                      5
      Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 6 of 9




having to approve a monthly $10,000 spousal support payment. (See ECF Nos. 270, 274.) These

efforts have nothing to do with the merits of this case.

        As to Defendant’s claims of his wife’s alleged exculpatory statements, the prosecution

team has no knowledge of those assertions. The FD-302 report produced in discovery and attached

here as Exhibit 4 reflects the sole conversation between Defendant’s wife and a member of the

prosecution team that occurred prior to the filing of Defendant’s Motion. The purpose of that

discussion was to ask Defendant’s wife if she knew the password to Defendant’s phone.2 As

reflected in the FD-302, the wife took the opportunity to provide more information, as she “stated

she wanted to talk to the Federal Bureau of Investigation (FBI) in order to have an accurate record

about what she knew with respect to her husband, Edward Constantinescu . . . .” (Ex. 4 at 1.) With

respect to Defendant Constantinescu’s trading, as the report reflects, his wife “certainly noticed

Constantin had made a lot of money trading stocks” but “[s]he did not have access to any of the

trading accounts or anything to do with the trading.” (Ex. 4 at 2.) Subsequent to the filing of the

Motion, Defendant’s wife voluntarily contacted the case agent again and affirmed the veracity of

those statements. 3 The statements the defense alleges were made are not consistent with those

statements or with the general tenor of the interview, as reflected in the report. (See id.) And even

if Defendant’s wife did make the statements Defendant alleges, the defense is aware of those



        2 The marital communications privilege, which is evidentiary in nature, obviously doesn’t apply to

this situation despite Defendant’s confused reference to it. See, e.g., United States v. Ramirez, 145 F.3d
345, 355 (5th Cir. 1988) (“The marital privilege is divided into two distinct privileges by the federal courts.
The first privilege bars a spouse from testifying adversely to the other. The second privilege bars a spouse
from testifying as to the confidential marital communications of the other.” (emphasis added)); Jernigan v.
State, 661 S.W.2d 936, 938 (Tex. Crim. App. 1983) (en banc) (holding information subject to the privilege
may support an arrest warrant because the privilege concerns “testimony in a criminal proceeding” and,
thus, nothing about the privilege “prohibits the use of information supplied by a person other than as
evidence in a criminal proceeding”); (Mot. at 4).
        3 On this point, the United States incorporates by reference its Motion for Revocation (ECF No.

343) and its exhibits.

                                                      6
     Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 7 of 9




purported statements, so they cannot support a Brady claim. See, e.g., Clark, 928 F.2d 733, 738

(6th Cir. 1994) (explaining there is no Brady issue “where a defendant knew or should have known

the essential facts permitting him to take advantage of any exculpatory information, or where the

evidence is available to the defendant from another source” (internal quotations and citations

omitted); United States v. Saipov, 17-cr-722, 2023 WL 3495031, at *5 (S.D.N.Y. May 16, 2023)

(“[A]ny evidence known to [defendants] is not Brady material.”).

                                           Conclusion

       The Court should deny Defendant’s Motion because it seeks information that cannot

logically be exculpatory or impeachment material and, thus, does not implicate Brady, or is

otherwise irrelevant to this case.




Dated: July 28, 2023                        Respectfully submitted,


                                            GLENN S. LEON
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                                               7
Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 8 of 9




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                                  8
      Case 4:22-cr-00612 Document 344 Filed on 07/28/23 in TXSD Page 9 of 9




                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 28, 2023, I will cause the foregoing brief to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will provide copies to counsel

for all parties.



                                              /s/ John J. Liolos
                                              John J. Liolos, Trial Attorney
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                                                  9
